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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

  UNITED STATES OF AMERICA,                        §
                                                   §
            Plaintiff,                             §
                                                   §
  v.                                               §       CAUSE NO. EP-24-CR-0644-LS
                                                   §
  TIMOTHY FRANCE JOHNSON,                          §
                                                   §
            Defendant.                             §


       ORDER ON GOVERNMENT’S UNOPPOSED MOTION TO DESIGNATE
         CASE COMPLEX AND TO TOLL SPEEDY TRIAL PROVISIONS

       Came on this date to be considered the Government’s Motion to Extend Government’s

Discovery Deadline and Motion for Designation as Complex Case and Tolling of Speedy Trial

Provisions in the above entitled and numbered cause, and after considering the same, the Court is

of the opinion that it should be GRANTED.

       THE COURT HEREBY FINDS that the ends of justice will be served by granting the

continuance and such ends of justice outweigh the interests of the public and the defendant in a

speedy trial, based on the following factors:

       1.        The issues and facts in this case are unusual and complex, and it is unreasonable to

expect adequate preparation for pretrial proceedings and the trial itself within the time limits

established by the Speedy Trial Act; and

                                                                     October 1
       IT IS HEREBY ORDERED that the case is continued until the ________________, 2024

docket call.
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       IT IS ORDERED that the time period between the filing of the Government’s instant

motion and the date set above for docket call is subject to exclusion under the provisions of Title

18, United States Code, section 3161(h)(7).

       Signed this ______            July
                     3rd day of ______________________, 2024.




                                             _______________________________________
                                             LEON SCHYDLOWER
                                             UNITED STATES DISTRICT JUDGE
